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                           UNITED STATES DISTRICT COURT

                                  DISTRICT OF OREGON

                                  PORTLAND DIVISION


 UNITED STATES OF AMERICA                           3:20-cr-00392-MO________

               v.                                   INFORMATION

 DAKOTA KURTIS MEANS,                               18 U.S.C. § 111(a)

               Defendant.

                      THE UNITED STATES ATTORNEY CHARGES:

                                           COUNT 1
                                 (Assault on a Federal Officer)
                                      (18 U.S.C. § 111(a))

       On or about August 24, 2020, in the District of Oregon, defendant DAKOTA KURTIS

MEANS, did forcibly assault, impede, and intimidate with Adult Victim 1 (AV1), a person

designated as a federal employee in 18 U.S.C. § 1114, while engaged in or on account of the

performance of AV1’s official duties.

       In violation of Title 18, United States Code, Section 111(a), a Class A misdemeanor.

Dated: August 24, 2020.                            Respectfully submitted,

                                                   BILLY J. WILLIAMS
                                                   United States Attorney

                                                   /s/ Ashley R. Cadotte
                                                   ASHLEY R. CADOTTE, OSB #122926
                                                   Assistant United States Attorney




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